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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                                      MINUTES


Judge: Brian R. Martinotti                               Date: 11/28/2023
Magistrate Judge: Rukhsanah L. Singh                     Case Nos: 23MDL3080
Mediator: Joseph A. Dickson, U.S.M.J. ret.                         17-699
Court Reporter: TAMMERA WITTE


Title of the Case:

  In Re: INSULIN PRICING LITIGATION



Appearances

James E. Cecchi, Steve W. Berman, Interim Liaison Counsel for Third Party Payer Track
David R. Buchanan, Benjamin Widlanski, Mark Pifko, Brandon Bogle, Interim Liaison Counsel
for Self-Funded Payer Track
Joanne Cicala, W. Lawrence Deas, Troy A. Rafferty, Trey Watkins, Interim Liaison Counsel for
State Attorneys General Track
Janpaul Portal, Attorney on behalf of MSP Recovery
Michael Roberts, Counsel for Direct Purchaser Plaintiff
Melissa L. Yeasts, Interim Counsel for TPP, PBM

Liza Walsh, Melissa Patterson, James Rouhandeh & James E. Gauch, Attorneys for Sanofi
Diana Watral & Melissa Geist, Attorneys for Eli Lily
Patrick Harvey & Jason R. Scherr, Attorneys for Express Scripts
Kevin Marino. John D. Tortella & Enu Mainigi, Attorneys for CVS Defts.
Thomas Scrivo & Brian Boone, Attorneys for Optumrx. Inc.
Neal Potischman, Attorney for defendant, Novo Nordisk Inc.

Note: See attached list for additional attendance/appearances in court

Nature of Proceedings:

Case Management Conference held re: 23mdl3080
Court ordered as follows:
            • Weekly status reports to be submitted by 3:00 pm on Fridays.
            • Attorneys in Attendance, who did not enter an appearance are to email liaison
               counsel from their group with their name and information. Liaison counsel in
               turn will provide complete list to the court by Friday, 12/02/23.
            • CMC will be held 2nd Tuesday of the month starting 01/2024
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           • Meet and confer re: motion practice. No motions to be filed w/out leave of court
Proposed Case Management Order to be submitted.

Courtroom sealed for hearing for Part II in 17-699.
Argument held on motions [574] and [593].
Court RESERVED decision.



                                                  Lissette Rodriguez, Courtroom Deputy
                                                  to the Hon Brian R. Martinotti U.S.D.J.

Time Commenced:       10:00 am
Time Concluded:       12:50 pm
